  Case 23-00901      Doc 53   Filed 06/01/23 Entered 06/02/23 09:30:23            Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                     Eastern Division

In Re:                                        )            BK No.:     23-00901
JERK TACO MAN HOLDINGS, LLC,                  )
                                              )            Chapter: 11
                                              )
                                                           Honorable Deborah L. Thorne
                                              )
                                              )
              Debtor(s)                       )
              ORDER GRANTING UNITED STATES TRUSTEE'S MOTION TO
                        DISMISS AND SHORTEN NOTICE

        This matter coming before the Court on the U.S. Trustee's Motion to Dismiss or Convert Case
Pursuant to 11 U.S.C. 1112(b) ("Motion"), sufficient notice having been given, and having heard the
parties in open court, IT IS HEREBY ORDERED:

  1. The Motion is GRANTED;

  2. Notice is shortened to that given; and

  3. This case is dismissed.




                                                        Enter:


                                                                 Honorable Deborah L. Thorne
Dated: June 01, 2023                                             United States Bankruptcy Judge

 Prepared by:
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